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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION



LISA SHIVELY                              )      Case No.
561 Woodhaven Dr.
Uniontown, OH 44685                       )
On her own behalf and
on behalf of her minor child,             )
T.S.
                                          )      JUDGE:
and
                                          )
JAMES SHIVELY
561 Woodhaven Dr.                         )
Uniontown, OH 44685
On his own behalf and                     )
on behalf of his minor child,
T.S.                                      )

                                          )
       Plaintiffs,
                                          )      COMPLAINT
                                                 WITH JURY DEMAND
-vs-                                      )

                                          )
GREEN LOCAL SCHOOL DISTRICT
BOARD OF EDUCATION                        )
1755 Town Park Blvd.
Green, OH 44232                           )

and                                       )

MICHAEL NUTTER                            )
1755 Town Park Blvd.
Green, OH 44232                           )
In his official and
individual capacities                     )

and                                       )

WADE LUCAS                                )
1755 Town Park Blvd.

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Green, OH 44232                          )
In his official and
individual capacities                    )

                                         )
and
                                         )
CINDY BROWN
1474 Boettler Rd.                        )
Uniontown, OH 44685
In her official and                      )
individual capacities
                                         )
and
                                         )
MARK BOOTH
1755 Town Park Blvd.                     )
Green, OH 44232
In his official and                      )
individual capacities
                                         )
and
                                         )
JEFF MILLER
1755 Town Park Blvd.                     )
Green, OH 44232
In his official and                      )
individual capacities
                                         )
and
                                         )
JEFF WELLS
1755 Town Park Blvd.                     )
Green, OH 44232
In his official and                      )
individual capacities
                                         )
and
                                         )
JOHN DOES 1-10
Addresses Unknown                        )

      Defendants.                        )




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                                   INTRODUCTION

      1.   This is a complaint brought by private citizens, on their

own behalf and on behalf of their minor daughter, against a public

entity and several of its officials and employees for redress of

violations of plaintiffs' civil rights.                 The complaint seeks

declaratory and monetary relief.



                                   JURISDICTION

      2.    Jurisdiction is invoked pursuant to 42 U.S.C. Section
2000e and 28 U.S.C. Sections 1343(3) and (4).                Claims are asserted

pursuant to the Fourteenth Amendments to the U.S. Constitution, 20

U.S.C. Section 1681, 42 U.S.C. Section 2000(d) and 42 U.S.C.

Section 1983.     To the extent declaratory relief is sought, claims

are   asserted   pursuant     to    28    U.S.C.   Sections     2201   and   2202.

Supplemental state claims are asserted pursuant to 28 U.S.C.

Section 1167, state statutes and state common law.



                                     PARTIES
      3.     Plaintiffs    Lisa     and   James    Shively    are   residents   of

Uniontown, Ohio in Summit County within the Northern District of

Ohio.      They are the parents of T.S., age 14, who was at all

relevant times a minor and a student in the Green Local School

District in Green, Ohio. They are suing on their own behalf and on

behalf of T.S. their natural daughter.

      4.    Defendant Green Local School District Board of Education

is a public entity which, acting under color of law, is responsible


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for the formulation and implementation of all official governmental

laws, policies, regulations and procedures in effect for the Green

Local School District.

       5.   Defendants Michael Nutter and Wade Lucas were, at all

relevant times the Superintendents of the Green Local School

District; in that capacity, acting under color of law, they have

been    responsible      for    the    implementation      of    all    official

governmental laws, policies, regulations and procedures governing

the Green Local School District.            They are sued in their official
and individual capacities.

       6.   Defendant Cindy Brown was at all relevant times a full-

time employee of the Green Local School District, serving as the

Principal of Green High School; in that capacity, acting under

color of law, she is responsible for the implementation of all

official governmental laws, policies, regulations and procedures

governing Green High School.            She is sued in her official and

individual capacities.

       7.   Defendants Mark Booth, Jeff Miller and Jeff Wells were at
all relevant times, full-time employees of defendant Green Local

School District Board of Education, serving in the capacities of

principals at Green Intermediate School and Green Middle School,

and assistant principal at Green Middle School, respectively; in

those capacities, acting under color of law, are responsible for

the implementation of all official governmental laws, policies,

regulations and procedures governing their roles as principals of

public schools.       They are sued in their official and individual


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capacities.

     8. Defendants John Doe 1-10 are individuals, whose identities

are currently unknown, who are officials and/or employees of the

Green Local District Board of Education, who knew or should have

known about the bullying of T.S. and failed to

adequately address the situation.




                                    FACTS
     9.     Plaintiffs    Lisa   and   James   Shively    are   residents    of

Uniontown, Ohio in Summit County, which is within the Northern

District of Ohio.    Their daughter, T.S. is a minor, age 14, and was

at all relevant times a student in the Green Local School District.

     10.   Plaintiff T.S. is Jewish and there are very few Jews who

attend the Green Local School District.

     11.   For many years, T.S. has endured harassment and bullying

at school at the hands of numerous other students, much of it based

on her religion.
     12.      This harassment and bullying has taken the form of

constant name-calling, harassment based on her religion, teasing

and verbal intimidation and on several occasions, physical violence

directed toward T.S.

     13. Specific examples of the bullying and harassment aimed at

T.S. include the following:

     a)    Students regularly said she would "rot in Hell" because

she did not believe in Jesus Christ;           she was regularly called a


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"dirty Jew" or "Hitler;"

     b) Several times she was knocked into lockers while walking

through the hallways of school;

     c) She was tripped, shoved, hit, kicked, had her books knocked

out of her hands on a regular basis;

     d) In September, 2007, T.S. was stabbed in the leg with a

pencil during class; T.S. had to be transported to an urgent-care

center, where the tip of the pencil was removed from her leg with

a scalpel;
     e) In April, 2008, Mrs. Shively informed defendant Wade Lucas,

then the superintendent of schools, that she would keep T.S. out of

school until the bullying situation was addressed; Mrs. Shively

kept T.S. out of school for one week, but eventually brought her

back to school when nothing was done to address the situation;

     f) In September and October, 2008, T.S. was verbally harassed

on a daily basis, called "a fucking Jew" by several boys as she got

on the bus; the bus driver never disciplined the boys or filed any

sort of report to the school district;
     g) On October 14, 2008, two boys spat on T.S. on the bus;

     h) In November, 2009, T.S. was assaulted by a boy in the choir

room at school, causing T.S. to have to be taken to the hospital

and to wear crutches for several weeks.            After the incident, the

boy who assaulted T.S. and others continued to verbally harass and

threaten T.S., telling her they would break her crutch over her

head;

     i) In October, 2010, several students created a Facebook page,


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entitled, "If you think T.S. is a whore and needs to go back to 8th

grade, join!"      The mother of one of the girls who created the page

posted comments on the page;

     j) In January, 2011, two students at Green High School created

a "kill list" which included T.S.'s name as a target for being

killed or hurt.      While school officials assured Mrs. Shively that

the perpetrators would never be able to set foot in the high school

again, one of the perpetrators was seen by T.S. in the cafeteria

just three weeks after the incident;
     k) On August 24, 2011, the first day of the current school

year, T.S. was helping with a "Club Fair," a program meant to

showcase the various clubs students can join, when students began

shouting "Jew" at her from across the cafeteria;

     l) On September 20, 2011, a female student approached T.S. in

the cafeteria in front of other students and called T.S. a "whore,"

among other names;

     m) On September 30, 2011, T.S. endured an entire day of

teasing and harassment from students between and during class.
T.S. came home in tears.

     14.     On    October   3,   2011,   Mrs.    Shively   informed    school

officials that T.S. could no longer attend Green High School

because of the bullying and the school's failure to respond to it.

     15.    The defendants knew or should have known about this

constant harassment.

     16.     The    defendants    knew    about   the   harassment     because

plaintiff Lisa Shively, T.S.'s mother, visited, e-mailed and called


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whichever    school   T.S.     was   attending     at     the   time     on   numerous

occasions to complain about the bullying, to ask that something be

done, and to warn school officials that T.S. was depressed because

of the constant harassment; on several occasions, Mrs. Shively

contacted law enforcement authorities, including a resource officer

who worked inside the school.

     17.    During the 2007-2008 school year, when T.S. was in fifth

grade, she went to a guidance counselor to seek his help from the

bullying;    the    guidance    counselor    did        nothing    to    address   the
situation.

     18.     On several occasions during the 2008-2009 school year,

when Lisa Shively complained to defendant Mark Booth, principal of

Green Intermediate School, defendant Booth told T.S. that she

should fight a boy who was bullying her, and on another occasion

defendant Booth told Mrs. Shively that T.S. enjoyed the attention.

     19.     Despite being told repeatedly about the bullying and

harassment,    defendants      did   nothing       to    stop     or    diminish   the

harassment, nor did they punish or discipline the perpetrators,
despite the fact that the defendants were told by Lisa Shively and

T.S. who the perpetrators were and despite the fact that the school

district has a clear policy prohibiting bullying, harassment and

discrimination based on religion.

     20. The defendants' prior knowledge of the fact that T.S. was

being   regularly     bullied    and    harassed         and    their    failure   to

intervene,    and   their    failure    to   act    to    curtail       bullying   and

harassment constitutes deliberate indifference in violation of


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T.S.'s rights.

      21.    The defendants' actions and omissions, in knowing that

T.S. was regularly bullied and harassed and their failure to

intervene, effectively deprived T.S. of access to the school's

resources and opportunities and were clearly unreasonable in light

of the known circumstances.

      22.    The actions and omissions of the defendants were similar

in nature, repeatedly continued over time and the effects of those

violations are still being felt today.
      23.     Due to the actions and omissions of the defendants,

jointly and severally, T.S. became so depressed that on or about

October 3, 2011, she had to withdraw from the Green Local School

District, costing her educational opportunities and depriving her

of access to the public schools based on her religion; the actions

and omissions of the defendants also deprived her parents of the

right to educate their daughter as they saw fit and deprived them

of the companionship of their daughter and both T.S. and her

parents have suffered and continue to suffer severe emotional
distress.

      24.    Despite the defendants knowing that T.S. had withdrawn

from school because of the pervasive bullying and due to the school

district's failure to address it, and despite knowing that T.S. was

out   of    school   and   being   asked   by   Lisa   Shively    to   find   an

alternative placement for T.S., the school district defendant and

defendant Nutter took three weeks to place T.S. in a suitable

alternative public school, while providing only two hours per day


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of tutoring for part of that three-week period, thus depriving T.S.

of her educational opportunities for that period of time.

      25.    The failure by defendants to adequately address the

bullying and harassment of T.S. over the course of years is part of

a policy and practice of the Green Local School District Board of

Education of violating students' rights by ignoring bullying and

harassment of students by other students.




                                    COUNT I

      26.   Plaintiffs reassert the foregoing as if fully rewritten

herein.

      27.    The actions of defendants constitute a violation of

plaintiffs'     constitutional     right,    pursuant    to    the   substantive

and/or procedural due process clauses of the Fourteenth Amendment,

to   familial    relationships,     which     includes     the     right   to   the

companionship,     care,    custody    and    management      of   their   child,

including the right to control her education; in T.S.'s case,
defendants' actions and omissions also constitute a violation of

her right to life, liberty and the pursuit of happiness as well as

her right to familial relationships and her right to an education.

      28.     As a   direct result of the actions and conduct of

defendants, plaintiffs suffered and continue to suffer extreme

emotional pain and suffering and loss of companionship with their

daughter; in T.S.'s case, she suffered extreme emotional distress

and loss of educational opportunities.


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                                  COUNT II

     29.   Plaintiffs reassert the foregoing as if fully rewritten

herein.

     30.   The actions of all defendants, in permitting and failing

to prevent or curtail the relentless bullying and harassment of T.S.

due to her religion, constitutes a violation of the Equal Protection

clause of the Fourteenth Amendment to the U.S. Constitution.

     31.    As   a   direct   result    of   the   actions   and   conduct    of
defendant, plaintiffs suffered and continue              to suffer extreme

emotional distress, loss of companionship, and in T.S.'s case,

extreme emotional distress and loss of educational

opportunities.



                                 COUNT III

     32. Plaintiffs reassert the foregoing as if fully rewritten

herein.

     33. The actions of defendant Green Local School District Board
of Education, in permitting and failing to prevent or curtail the

relentless bullying and harassment of T.S. due to her religion,

constitutes a hostile school environment for T.S. which is a

violation of Title VI of the Civil Rights Act of 1964, 20 U.S.C.

Section 2000(d).

     34.    As   a   direct   result    of   the   actions   and   conduct    of

defendant, plaintiffs suffered and continue to suffer                  extreme

emotional distress, loss of companionship, and in T.S.'s case,


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extreme emotional distress and loss of life.




                                      COUNT IV

     35.   Plaintiffs reassert the foregoing as if fully rewritten

herein.

     36.   The actions of defendants constitute a violation of Title

IX, 20 U.S.C. Section 1681 by allowing the plaintiffs' minor

daughter to be harassed by other students based on gender and
religion and by allowing a hostile school environment for T.S.

     37.    As     a    direct   result     of   the   actions   and   conduct   of

defendants, plaintiffs have suffered and continue to suffer extreme

emotional distress, loss of companionship and in the case of T.S.,

extreme emotional distress and loss of educational opportunities.



                                      COUNT V

     38.   Plaintiffs reassert the foregoing as if fully rewritten

herein.
     39. The actions of defendant Green Local School District Board

of Education, in failing to properly train its officials and

teachers   in    proper     methods    of   recognizing,    responding      to   and

preventing bullying and harassment, and in permitting bullying and

harassment, constitute a violation of defendant Green Local School

District   Board       of   Education's     obligations    to    maintain   lawful

policies and procedures pursuant to Monell v. Dept. of Social

Services, 436 U.S. 658 (1978).


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     40.    As   a   direct   result    of   the   actions   and   conduct    of

defendant, plaintiffs have suffered and continue to suffer extreme

emotional distress, loss of companionship, and in T.S.'s case,

extreme emotional distress and loss of educational opportunities.



                                  COUNT VI

     41.   Plaintiffs reassert the foregoing as if fully rewritten

herein.

     42. The actions of defendants, as enumerated above, constitute
negligence and/or gross negligence under state law.

     43.    As   a   direct   result    of   the   actions   and   conduct    of

defendants, plaintiffs have suffered and continue to suffer extreme

emotional distress, loss of companionship and in the case of T.S.,

extreme emotional distress and loss of educational opportunities.



                                 COUNT VII

     44.   Plaintiffs reassert the foregoing as if fully rewritten

herein.
     45.   The actions of defendants constitute malicious purpose,

bad faith and wanton and reckless conduct in violation of Ohio

Revised Code Section 2744.03(A)(6).

     46.    As   a   direct   result    of   the   actions   and   conduct    of

defendants, plaintiffs have suffered and continue to suffer extreme

emotional distress, loss of companionship and in the case of T.S.,

extreme emotional distress and loss of educational opportunities.




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    WHEREFORE, plaintiffs ask that this court grant the following

relief:

           A) Declare that the acts and conduct of all
           defendants    constitute   violations    of
           plaintiffs' constitutional, statutory and
           common-law rights.

           B) Enjoin defendants from violating the
           constitutional and statutory rights of its
           citizens.

           C) Grant to the plaintiffs and against all
           defendants,   jointly   and   severally,    an
           appropriate amount of compensatory damages,
           and against the individual defendants an
           appropriate amount of punitive damages.

           D) Grant to the plaintiffs and against all
           defendants, jointly and severally, appropriate
           costs and attorneys' fees.

           E)   Grant to the plaintiffs whatever other
           relief the court deems appropriate.


                                    Respectfully submitted,




                                    /s/Kenneth D. Myers
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                                    6100 Oak Tree Blvd., Suite 200
                                    Cleveland, OH 44131
                                    (216) 241-3900
                                    Counsel for Plaintiffs




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                            JURY DEMAND

 Plaintiffs hereby demand a trial by jury.


                                /s/Kenneth D. Myers
                                KENNETH D. MYERS

                                Counsel for Plaintiffs




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